      Case 2:00-cr-00347-LSC-JHE Document 295 Filed 01/07/05 Page 1 of 1            FILED
                                                                           2005 Jan-07 PM 03:22
                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


GLENN MILLER,                         )
                                      )
                  Petitioner,         )
                                      )
vs.                                   )   CIVIL ACTION NO. 02-LSC-RRA-8063-S
                                      )   CRIMINAL ACTION NO. 00-N-0347-S
UNITED STATES OF AMERICA,             )
                                      )
                  Respondent.         )


                            ORDER OF DISMISSAL


      In accord with the Memorandum Opinion entered contemporaneously

herewith, the motion to vacate, set aside, or correct is DENIED.

      Costs are taxed to movant.

      Done this 7th   day of January 2005.




                                          L. SCOTT COOGLER
                                     UNITED STATES DISTRICT JUDGE
